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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA




JOHNSON & JOHNSON HEALTH CARE
SYSTEMS INC.,

                    Plaintiff,

       v.

DOROTHY FINK, in her official capacity, and
U.S. DEPARTMENT OF HEALTH AND HUMAN
                                                      Civil Action No. 1:24-cv-3188
SERVICES,

and

THOMAS J. ENGELS, in his official capacity, and
HEALTH RESOURCES AND SERVICES
ADMINISTRATION,

                    Defendants.



            PLAINTIFF’S OPPOSITION TO PROPOSED INTERVENORS’
                          MOTION TO INTERVENE
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       Plaintiff Johnson & Johnson Health Care Systems Inc. (“J&J”) hereby opposes the motion

to intervene filed by 340B Health, UMass Memorial Medical Center, and Genesis HealthCare

System (collectively, “Proposed Intervenors”), ECF No. 14.1

                                RELEVANT BACKGROUND

       This action concerns a pure legal question: whether the statute establishing the 340B

prescription drug pricing program, 42 U.S.C. § 256b, permits drug manufacturers to offer

statutorily required price reductions through rebates rather than discounts.     The underlying

background for this matter is set forth fully in J&J’s brief in support of its motion for summary

judgment. ECF No. 18-1. The basis of J&J’s suit is that Defendants—the Health Resources and

Services Administration (“HRSA”), the Department of Health and Human Services (“HHS”), and

officials of these agencies—acted in excess of their authority under the 340B statute, 42 U.S.C.

§ 256b (“Section 340B”), and the Administrative Procedure Act, 5 U.S.C. § 706 (“APA”), in

prohibiting J&J from adopting its “Rebate Model” through letters to J&J and a post on HRSA’s

website.

       Defendants, represented by attorneys from the U.S. Department of Justice, have appeared

in this case to defend HRSA’s actions. The Court has approved a stipulated briefing schedule

under which the parties will complete briefing on cross-motions for summary judgment by March

31, 2025. See ECF No. 10. On January 30, 2025, Proposed Intervenors—a 340B hospital

association and two 340B hospitals—moved to intervene as defendants in this lawsuit. ECF No.

14. J&J filed its summary judgment motion on February 3, 2025. ECF No. 18. J&J concurrently

filed a motion to expedite consideration of the case, on which Defendants took no position,

explaining that deadlines arising from J&J’s obligations under the Drug Price Negotiation Program


1
 Pursuant to Federal Rule of Civil Procedure 25(d), J&J has substituted HRSA Administrator
Thomas J. Engels for his predecessor in the case caption.
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established by the Inflation Reduction Act (“IRA”), Pub. L. No. 117-169, 136 Stat. 1818 (2022),

weigh in favor of resolving this case by July 1, 2025, or as soon thereafter as the Court’s schedule

will allow. ECF No. 19.

                                          ARGUMENT

       Binding precedent bars Proposed Intervenors from participating in this case as parties. In

Astra USA, Inc. v. Santa Clara County, 563 U.S. 110 (2011), the Supreme Court held that covered

entities may not bring suit to enforce the requirements of the 340B statute against manufacturers.

See id. at 113. The Astra plaintiffs brought claims sounding in contract, alleging they were

intended third-party beneficiaries of manufacturers’ Pharmaceutical Pricing Agreements (“PPAs”)

with HHS, but the Court disagreed and found that “[a] third-party suit to enforce an HHS-drug

manufacturer agreement … is in essence a suit to enforce the statute itself.” Id. at 118. And suits

to enforce 340B statutory requirements, the Court concluded, are “incompatible with the statutory

regime” because “Congress vested authority to oversee compliance with the 340B Program in

HHS and assigned no auxiliary enforcement role to covered entities.” Id. at 113, 117. Instead,

covered entities’ remedy against manufacturers for alleged overcharges must be obtained through

the administrative dispute resolution (“ADR”) process created by the 340B statute. Id. at 121-22

(citing 42 U.S.C. § 256b(d)).

        Astra bars Proposed Intervenors from participating in this action as parties and deprives

them of both Article III standing and the legally protectable interest required for intervention.

Proposed Intervenors are effectively arguing that J&J’s proposed Rebate Model will overcharge

them for 340B-eligible medicines, in contravention of the 340B statute. Under Astra, that claim

may be brought only in ADR. In the words of one court that has applied Astra, Proposed

Intervenors offer a “creative recasting” of claims against J&J in order “to seek precisely that which




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Astra forbids: the private enforcement of 340B program requirements.” Am. Hosp. Ass’n v. HHS,

No. 4:20-cv-08806, 2021 WL 616323, at *5 (N.D. Cal. Feb. 17, 2021).

       The fact that no overcharge could have occurred yet—given that J&J has not yet

implemented its Rebate Model—further deprives Proposed Intervenors of both standing and the

requisite interest for intervention. Proposed Intervenors premise their argument for standing

primarily on unsupported speculation that J&J will violate the 340B statute by using its Rebate

Model to deny 340B pricing on eligible claims. To confer standing and the right to intervene,

however, an intervenor’s protected interest must “face[] an imminent, threatened invasion—i.e.,

one that is not conjectural or speculative.” Deutsche Bank Nat. Tr. Co. v. FDIC, 717 F.3d 189,

193 (D.C. Cir. 2013). “[I]mminence means that the injury must be ‘certainly impending’”;

Proposed Intervenors’ claimed injury here is not. Ctr. for Biological Diversity v. U.S. Fish &

Wildlife Serv., 340 F.R.D. 1, 4 (D.D.C. 2021) (quoting Lujan v. Defs. of Wildlife, 504 U.S. 555,

564 n.2 (1992)). Importantly, it is not enough that a proposed intervenor merely “seeks to defend

the substance” of a challenged agency action. Id. at 5 (citation omitted). If and when J&J

implements its Rebate Model, and Proposed Intervenors at that time wish to challenge an alleged

overcharge, the 340B statute provides the mechanism to do so: an ADR proceeding before the

agency. See Am. Hosp. Ass’n, 2021 WL 616323, at *6 (“Congress made explicit that alleged 340B

Program violations are to be first adjudicated by HHS through an established ADR process.”).

       Proposed Intervenors also fail to show that denial of intervention will impair a legally

protected interest and that the government is not adequately representing them.           Proposed

Intervenors assert that their request to intervene, as opposed to simply participating as amici, “is

necessary because the current change in administration causes uncertainty regarding the legal

positions that the Government Defendants may take as the litigation proceeds.” ECF No. 14-1




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(Br.) at 11 n.4. But the mere fact of an administration change does not give rise to a right to

intervene, see League of United Latin Am. Citizens v. Wilson, 131 F.3d 1297, 1307 (9th Cir. 1997),

and Proposed Intervenors offer no evidence that the government in fact will cease its zealous

defense of the challenged actions. Nor do Proposed Intervenors offer any relevant argument

distinct from those that the government presses (or is capable of raising) itself.

        Proposed Intervenors’ request for permissive intervention is equally barred by the Supreme

Court’s decision in Astra and their lack of standing. Although Proposed Intervenors do not satisfy

the requirements for attaining party status in this suit through intervention, J&J would not oppose

a request by Proposed Intervenors to participate as amici curiae, insofar as they can satisfy the

criteria for such status.

I.      Proposed Intervenors Are Not Entitled to Intervene Under Rule 24(a)

        Under Rule 24(a) of the Federal Rules of Civil Procedure, a proposed intervenor as of right

has the burden to establish, by timely motion, that: (1) it has a legally protectable interest in the

lawsuit; (2) its interest may be impaired by the disposition of the lawsuit; and (3) its purported

interest is not adequately represented by the existing parties to the litigation. Fed. R. Civ. P.

24(a)(2); see Karsner v. Lothian, 532 F.3d 876, 885 (D.C. Cir. 2008).

        Proposed Intervenors satisfy none of those requirements. At the outset, Astra USA, Inc. v.

Santa Clara County, 563 U.S. 110 (2011), bars covered entities from litigating against

manufacturers to enforce the 340B statute, “[n]o matter the clothing in which [340B entities] dress

their claims.” Id. at 114 (quoting Tenet v. Doe, 544 U.S. 1, 8 (2005)). Any “340B Program

violations” that Proposed Intervenors intend to raise must instead be “first adjudicated by HHS

through an established ADR process.” Am. Hosp. Ass’n, 2021 WL 616323, at *6. As a result,

Proposed Intervenors lack a legally protectable interest in this case.




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       Even without Astra, however, Proposed Intervenors would lack a “certainly impending”

injury to their interest sufficient to confer Article III standing. Ctr. for Biological Diversity, 340

F.R.D. at 4 (quoting Lujan, 504 U.S. at 564 n.2). Proposed Intervenors premise standing on

speculation that J&J would unlawfully deny 340B pricing under its Rebate Model (which it will

not, and J&J’s Rebate Model does not permit)—far from an “imminent, threatened invasion” to

Proposed Intervenors’ interest, were that interest even legally protectable. Deutsche Bank Nat. Tr.

Co., 717 F.3d at 193.

       Similarly, Proposed Intervenors cannot show their interests would be impaired without

their participation or that the government is not adequately representing them.             Proposed

Intervenors speculate that the new administration will change their position on the issues in

dispute, but they lack any evidence that such a reversal is likely and admit as such. A putative

intervenor “must produce something more than speculation as to the purported inadequacy” of

representation. Aref v. Holder, 774 F. Supp. 2d 147, 172 (D.D.C. 2011) (quoting Moosehead

Sanitary Dist. v. S.G. Phillips Corp., 610 F.2d 49, 54 (1st Cir. 1979)).

       The Court should reject Proposed Intervenors’ request to intervene as of right.

       A.      Binding Case Law Precludes Intervention by Covered Entities and Deprives
               Proposed Intervenors of Standing and a Legally Protected Interest

       The Supreme Court’s Astra decision bars Proposed Intervenors from participating in this

action and deprives them of a legally protectable interest and Article III standing. In Astra, a

county and covered entities it operated brought suit against manufacturers alleging they

overcharged for 340B-eligible drug purchases in violation of the manufacturers’ PPAs with HHS,

of which the plaintiffs claimed they were the intended beneficiaries. 563 U.S. at 116. Reversing

the Ninth Circuit’s holding that the plaintiffs could bring suit as third-party beneficiaries of PPAs,

the Supreme Court held that “[a] third-party suit to enforce an HHS-drug manufacturer agreement



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… is in essence a suit to enforce the statute itself,” thus constituting an impermissible end-run

around the statute’s undisputed lack of a private right of action. Id. at 118.

       The Court explained that Congress did not authorize “suits by 340B entities” or intend to

“spread the enforcement burden” for the program to non-government parties. Id. at 119-20; see

also id. at 117 (“Congress vested authority to oversee compliance with the 340B Program in HHS

and assigned no auxiliary enforcement role to covered entities.”). Instead, Congress established

the statute’s ADR process as “the proper remedy for covered entities complaining of ‘overcharges

and other violations’” of the 340B statute. Id. at 122 (quoting 42 U.S.C. § 256b(d)(1)(A)). Suits

by covered entities to enforce 340B requirements, in short, “are incompatible with the statutory

regime.” Id. at 113.

       Astra precludes intervention by the Proposed Intervenors here. See Tr. of Oral Argument

at 35-36, AstraZeneca Pharms. LP v. Cochran, No. 21-27 (D. Del. Apr. 26, 2021), ECF No. 51

(denying intervention by 340B Health and others in action by manufacturer against HRSA in part

due to Astra’s guidance that “it would be a rare circumstance in which private parties would have

rights to enforce … statutory provisions related to the 340B program”). If covered entities

attempted to bring suit against J&J asserting that the Rebate Model is impermissible because it

causes them monetary harm, Astra would unquestionably require dismissal.

       So too here; intervening on the side of HRSA to express concerns about possible future

overcharges is little more than a “creative recasting” of the same case that Proposed Intervenors

could not bring against J&J as plaintiffs. Am. Hosp. Ass’n, 2021 WL 616323, at *5 (citing Astra,

563 U.S. at 113). But “Astra forbids[] the private enforcement of 340B program requirements” in

all forms, including any action in which the covered entities’ positions and remedies sought “are

entirely premised on the enforcement of the 340B Program requirements against … allegedly non-




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complying drug companies.”        Id.    Under Astra, covered entities may not litigate against

manufacturers to enforce the 340B statute, “[n]o matter the clothing in which [they] dress their

claims.” 563 U.S. at 114 (quoting Tenet, 544 U.S. at 8). Instead, any challenge to overcharges,

including claims allegedly arising from the Rebate Model, must be “first adjudicated by HHS”

through the ADR process. Am. Hosp. Ass’n, 2021 WL 616323, at *6.2 Courts have held as such

and dismissed covered entity suits in other contexts, including an action against manufacturers

alleging that supposed overcharges violated the False Claims Act, U.S. ex rel. Adventist Health

Sys. / W. v. AbbVie, Inc., 723 F. Supp. 3d 882 (C.D. Cal. 2024), appeal filed, No. 24-2180 (9th

Cir.), and an APA suit against HHS to compel 340B enforcement actions against manufacturers,

Am. Hosp. Ass’n, 2021 WL 616323.

       In light of Astra’s bar on their participation, Proposed Intervenors lack both the legal

interest required for intervention by Rule 24(a)(2) and the injury to such an interest required for

Article III standing, which are linked. See Biden v. IRS, No. 23-2711 (RC), 2024 WL 4332072, at

*10 n.8 (D.D.C. Sept. 27, 2024) (“Article III’s ‘gloss’ on Rule 24 requires an intervenor to have a

‘legally protectable’ interest” (quoting Jones v. Prince George’s Cnty., 348 F.3d 1014, 1018 (D.C.

Cir. 2003))). As the D.C. Circuit has made clear, “all would-be intervenors must demonstrate

Article III standing.” Old Dominion Elec. Coop. v. FERC, 892 F.3d 1223, 1232 (D.C. Cir. 2018).

“To do so, the prospective intervenor must establish injury-in-fact to a legally protected interest,

causation, and redressability.” Id. at 1233. Further, the claimed interest must “face[] an imminent,

threatened invasion—i.e., one that is not conjectural or speculative.” Deutsche Bank Nat. Tr. Co.,

717 F.3d at 193. “For prospective injuries, imminence means that the injury must be ‘certainly

2
 Of course, any ADR action at this point would be premature because J&J has not yet implemented
the Rebate Model, so no possible overcharge could have occurred. See 42 U.S.C. § 256b(d)(3)(A)
(establishing ADR process for “resolution of claims by covered entities that they have been
overcharged for drugs purchased under” the 340B Program).


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impending.’” Ctr. for Biological Diversity, 340 F.R.D. at 4 (quoting Lujan, 504 U.S. at 564 n.2).

It is not enough that a proposed intervenor merely “seeks to defend the substance” of an agency

action. Id. at 5 (citation omitted).

        Proposed Intervenors have no “legally protected interest” here due to the holding in Astra.

Old Dominion Elec. Coop., 892 F.3d at 1233. Even absent that doctrinal bar, however, Proposed

Intervenors’ claims to standing and a protected legal interest lack merit. Proposed Intervenors

stake their claimed injury primarily on pure speculation that J&J will use its Rebate Model to

improperly refuse to offer price reductions on 340B-eligible purchases. Proposed Intervenors

insist that J&J’s Rebate Model would “deny” covered entities “prompt access to drugs at a

discounted price” and that J&J is “likely” to “deny legitimate claims.” Br. 3, 5-7, 12; see, e.g., id.

at 12 (“Even assuming J&J complies with its obligations under its proposed rebate model….”).

On that basis, Proposed Intervenors predict they will also “incur significant legal costs” in order

to “challenge … improper claim denial[s] through HRSA’s ADR process.” Id. at 12.

        Conjectures that J&J will improperly deny rebates on 340B-eligible purchases—risking

not only ADR claims by covered entities like Proposed Intervenors, but also potential HRSA

enforcement, including imposition of severe civil monetary penalties, see ECF No. 18-1 at 6 (citing

42 U.S.C. § 256b(d)(1)(B)(vi))—are insufficient to establish standing and insufficient to support

intervention. Courts considering “any chain of allegations for standing purposes … may reject as

overly speculative those links which are predictions of future events.” Arpaio v. Obama, 797 F.3d

11, 21 (D.C. Cir. 2015) (quoting United Transp. Union v. ICC, 891 F.2d 908, 912 (D.C. Cir.

1989)). Stated another way, Proposed Intervenors’ “alleged injury is prospective, but it is not

‘certainly impending,’” and therefore cannot support standing or intervention interest. Ctr. for




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Biological Diversity, 340 F.R.D. at 4 (citing Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409

(2013)).

       Proposed Intervenors further predict that “other drug manufacturers will be emboldened to

adopt their own rebate models” if the Court rules for J&J here. Br. 13. Yet courts are “especially”

wary of “predictions of … future actions to be taken by third parties” as grounds for standing,

Arpaio, 797 F.3d at 21 (quoting United Transp. Union, 891 F.2d at 912); see Deutsche Bank Nat’l

Tr. Co., 717 F.3d at 193-94. The Court should “reject as overly speculative” Proposed Intervenors’

unsupported alarms about possible future malfeasance. Arpaio, 797 F.3d at 21 (quoting United

Transp. Union, 891 F.2d at 912).

       Proposed Intervenors also assert that they would need to hire additional employees to

collect and submit claims data to participate in the Rebate Model. Br. 6-8, 12-13. But as J&J has

explained repeatedly and the Administrative Record demonstrates, the Rebate Model requires only

commercially standard claims data that covered entities already maintain and submit to

manufacturers and other stakeholders. See, e.g., ECF No. 1 ¶¶ 94, 97; ECF No. 18-1 at 17; AR56,

AR61, AR76-AR77, AR178, AR182-AR185. Moreover, J&J’s Rebate Model, which is limited to

one category of covered entity and to J&J products selected under the IRA’s drug price negotiation

program, will enable covered entities that timely submit claims data to receive rebate payments

within seven to ten days of claim submission, which is before covered entities currently pay

wholesalers’ invoices under standard payment terms. See ECF No. 1 ¶¶ 78-79; AR59, AR61-

AR62, AR75, AR179. Thus, Proposed Intervenors’ concerns about financial and staffing strain

fall well shy of the “certainly impending” injury necessary to demonstrate standing and an

intervention-worthy interest. Ctr. for Biological Diversity, 340 F.R.D. at 4 (quoting Clapper, 568

U.S. at 409) (denying intervention).




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       In addition, as this Court has recognized, in order “[t]o be protected by means of

intervention, [an] interest must be a legal interest as distinguished from interests of a general and

indefinite character.” Biden, 2024 WL 4332072, at *10 (quoting United States v. Am. Tel. & Tel.

Co., 642 F.2d 1285, 1292 (D.C. Cir. 1980)) (denying intervention). Even if the Court found that

Proposed Intervenors’ speculative harms gave rise to a sufficient interest and standing here,

Proposed Intervenors’ purported interest in opposing J&J’s Rebate Model is not particular to them,

but instead is shared in common with thousands of covered entities across the country. Granting

intervention could therefore risk opening the floodgates to participation by countless other

similarly situated entities with the same generalized interest. See Tr. of Oral Argument at 36-37,

AstraZeneca Pharms. LP, No. 21-27 (D. Del. Apr. 26, 2021) (denying intervention in part because

granting the motion would mean that “every covered entity would have a right under Rule 24 to

intervene,” which “could easily … lead to this case getting out of control and falling behind the

expedited schedule that has been worked out between the parties”). The Court should not allow

intervention based on the speculative and generalized interests that Proposed Intervenors have

asserted.

       B.      Denial of Proposed Intervenors’ Motion Will Not Impair Their Interests

       Proposed Intervenors are also unable to demonstrate that “disposing” of this case in their

absence would “impair or impede [their] ability to protect [their] interest.” Yocha Dehe v. U.S.

Dep’t of Interior, 3 F.4th 427, 430 (D.C. Cir. 2021) (quoting Fed. R. Civ. P. 24(a)(2)). As Proposed

Intervenors concede, Br. 16, that inquiry looks to the “‘practical consequences’ of denying

intervention,” Fund for Animals, Inc. v. Norton, 322 F.3d 728, 735 (D.C. Cir. 2003) (emphasis

added) (quoting Nat. Res. Def. Council v. Costle, 561 F.2d 904, 909 (D.C. Cir. 1977)); see also

Biden, 2024 WL 4332072, at *10 (same); 100Reporters LLC v. U.S. Dep’t of Just., 307 F.R.D.

269, 278 (D.D.C. 2014) (Contreras, J.) (same).


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       Here, denying Proposed Intervenors’ motion would have no practical consequences for

their interests. Government counsel will make precisely the same arguments in defense of HRSA’s

actions that Proposed Intervenors intend to offer. See Part I.D, infra. Proposed Intervenors repeat

speculation about harms that will allegedly result from implementation of J&J’s Rebate Model,

and assert that “Proposed Intervenors’ interests will be impaired should this Court grant judgment

in J&J’s favor.” Br. 17 (emphasis added). But Proposed Intervenors fail to explain how denial of

intervention would specifically impede their interests, which is the relevant inquiry.

       Nevertheless, J&J would not object to Proposed Intervenors participating in this lawsuit as

amici curiae, insofar as they can satisfy the criteria for amicus status, which would place their

views before the Court and thus alleviate any risk from not participating. See District of Columbia

v. Potomac Elec. Power Co., 826 F. Supp. 2d 227, 234 (D.D.C. 2011) (“Since the Court will grant

the proposed intervenors leave to participate as amici curiae, … the Court will have the opportunity

to consider all of the proposed intervenors’ objections.”); Ohio Valley Env’t Coal., Inc. v.

McCarthy, 313 F.R.D. 10, 26 (S.D. W. Va. 2015) (“[T]he impairment prong is not met if the

would-be intervenor could adequately protect its interests in the action by participating as amicus

curiae.”) (citing McHenry v. Comm’r, 677 F.3d 214, 227 (4th Cir. 2012)).

       C.      The Government Is Adequately Defending the Legality of the Challenged
               HRSA Actions

       Proposed Intervenors fail to demonstrate that the government is not adequately

representing their interest in defending HRSA’s decisions regarding J&J’s Rebate Model. “An

applicant does not possess a right to intervene … if its ‘interest is adequately represented by

existing parties.” In re Sealed Case, 237 F.3d 657, 663 (D.C. Cir. 2001) (quoting Fed. R. Civ. P.

24(a)). “A would-be intervenor is adequately represented when [it] ‘offer[s] no argument not also

pressed by’ an existing party.” United States v. All Assets Held at Credit Suisse (Guernsey) Ltd.,



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45 F.4th 426, 432 (D.C. Cir. 2022) (quoting Bldg. & Constr. Trades Dep’t v. Reich, 40 F.3d 1275,

1282 (D.C. Cir. 1994)); see also Akiachak Native Cmty. v. U.S. Dep’t of Interior, 827 F.3d 100,

109 (D.C. Cir. 2016) (applying that principle to intervention on the side of an agency in an AP

       A case); 100Reporters LLC, 307 F.R.D. at 286 n.12 (noting representation is adequate

when “the proposed intervenor’s ‘arguments directed at the subject matter of this case will be

cumulative of the arguments advanced by the other defendants’” (quoting Env’t Def. Fund, Inc. v.

Costle, 79 F.R.D. 235, 243 (D.D.C. 1978))).

       Proposed Intervenors fail to identify any relevant arguments that the Government will not

assert in this case. Indeed, Proposed Intervenors take the same positions as the Government on

the key issues in dispute, arguing that J&J cannot adopt its Rebate Model and that HRSA had

authority to prohibit J&J from doing so. At most, Proposed Intervenors suggest that Defendants

may make different tactical choices in defending those positions than Proposed Intervenors would

make. But “mere difference of opinion concerning the tactics with which litigation should be

handled does not make” representation inadequate. Jones, 348 F.3d at 1020 (quoting 7C Charles

Alan Wright, Arthur R. Miller & Mary Kay Kane, Federal Practice and Procedure § 1909, at 344

(2d ed. 1986)).

       Proposed Intervenors also claim to have a unique argument that rebate models per se

violate the 340B statute, Br. 18, but that fails for two reasons. First, that argument is not unique

to Proposed Intervenors; HRSA expressly asserted it in rendering its final decision on the legality

of J&J’s Rebate Model, see AR 203, and Defendants may yet raise the argument again in their

forthcoming cross-motion for summary judgment. Second, the argument that rebate models are

never permissible is inconsistent with both the plain text of the 340B statute, which expressly

provides for “rebate[s] or discount[s]” as mechanisms for manufacturers to offer the 340B ceiling




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price, 42 U.S.C. § 256b(a)(1), and with HRSA’s longstanding guidance on use of rebate models

by State AIDS Drug Assistance Programs, 63 Fed. Reg. 35,239 (June 29, 1998).

       Proposed Intervenors alternatively argue that the government’s representation is

inadequate because Proposed Intervenors are the “only entities that can adequately describe the

impact that J&J’s proposed rebate model will have on 340B hospitals and the patients they serve.”

Br. 19. But the alleged practical impact of J&J’s Rebate Model on covered entities’ “financial

interests,” Br. 18, does not bear on the statutory interpretation questions at issue in this case:

whether HRSA has authority under the 340B statute to reject a manufacturer’s choice of pricing

mechanism, and if so, through what regulatory avenue it may act. See Compl. ¶ 132. Those

considerations are accordingly best suited for an amicus brief.

       But even if the concerns Proposed Intervenors raise properly played a role here, the

Administrative Record reflects that the government is considering covered entities’ financial

interests. For example, HRSA’s September 17, 2024 letter claimed that J&J’s Rebate Model

would impose impermissible upfront costs on covered entities. See AR 203. Moreover, the

Administrative Record demonstrates that HRSA is aware of claims that covered entities will bear

new administrative costs under rebate models and has discussed those concerns with hospital

groups, see AR66-AR68, AR75-76, AR292-AR293, AR342-AR343, AR380-AR382, AR439-

AR440, AR573, AR583-AR584, AR586, AR644.

       Lastly, Proposed Intervenors speculate that the new administration will not “defend the

instant suit nor maintain the position that J&J’s proposed rebate model violates the 340B statute.”

Br. 18. But again, a putative intervenor “must produce something more than speculation as to the

purported inadequacy” to satisfy this factor. Aref, 774 F. Supp. 2d at 172 (D.D.C. 2011) (quoting

Moosehead Sanitary Dist., 610 F.2d at 54). And, courts have made clear that “the mere change




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from one … administration to another, a recurrent event in our system of government, should not

give rise to intervention as of right in ongoing lawsuits.” League of United Latin Am. Citizens,

131 F.3d at 1307. If the Court were to find that “speculation about the effects of a change of

administration were sufficient to meet [Proposed Intervenors’] burden of demonstrating

inadequate representation, then proposed intervenors could always satisfy the third prong of Rule

24(a)(2) if the defendant were a [] government entity.” Id. (citation omitted).

       Indeed, Proposed Intervenors admit that “there has been no suggestion yet that the new

administration will take a different position on this matter” from the previous administration. Br.

18; see also id. at 11 n.4 (suggesting intervention is necessary because of “uncertainty regarding

the legal positions that the Government Defendants may take as the litigation proceeds” (emphasis

added)). Without any evidence that the new administration will abandon HRSA’s prior decisions

on J&J’s Rebate Model, Proposed Intervenors cannot show that the government does not

adequately represent their interests.3 Intervention as of right should be denied.4

II.    The Court Should Deny Permissive Intervention Under Rule 24(b)

       Proposed Intervenors’ alternative request for permissive intervention fares no better. As

with intervention as of right, Astra bars Proposed Intervenors from intervening on a permissive

basis as well. See section I.A, supra. Further, the permissive provision that Proposed Intervenors


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  Notably, even if Defendants did change course and decide to allow J&J’s Rebate Model, the
Astra decision would still bar covered entities from intervening. Underpinning the Astra ruling
was the Supreme Court’s determination that “suits by 340B entities would undermine [HHS]’s
efforts to administer both Medicaid and § 340B harmoniously and on a uniform, nationwide basis.”
563 U.S. at 120. That reasoning applies even more strongly now that Congress has adopted the
Inflation Reduction Act drug price negotiation program, which Defendants must administer
alongside Medicaid and 340B. If Defendants determined that manufacturer rebate models would
be the best way to administer these three interrelated federal programs “harmoniously,” Astra
would still bar intervention by covered entities asserting that decision was inconsistent with the
statute, even if the entities claimed divergent interests from the government. See id. at 120.
4
 Should this Court find that Proposed Intervenors have a right to intervene, J&J requests that they
be held to the existing briefing schedule. See ECF No. 10.


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claim to satisfy, Br. 19-20, is Federal Rule 24(b)(1)(B), which permits intervention only where an

applicant asserts a “claim or defense that shares with the main action a common question of law

or fact.” Yet Proposed Intervenors have no claim or defense of their own in this APA action. In

fact, they concede that they base their request for permissive intervention on “ask[ing] the Court

to resolve the same question that is currently in front of it—whether the J&J’s [sic] proposed rebate

model fulfills its obligations under the 340B statute.” Br. 20.

       That is not sufficient. Courts routinely hold that, under Rule 24(b)(1)(B), “defenses [that]

are not unique” to the proposed intervenor and “can be adequately represented by [the named]

defendants” do not justify permissive intervention; otherwise, “numerous third-parties [could]

seek intervention on the same bases.” Hodes & Nauser, MDs, P.A. v. Moser, No. 2:11-cv-02365,

2011 WL 4553061, at *4 (D. Kan. Sept. 29, 2011); see New Orleans Pub. Serv., Inc. v. United Gas

Pipe Line Co., 732 F.2d 452, 472-73 (5th Cir. 1984) (en banc) (similar); Menominee Indian Tribe

of Wis. v. Thompson, 164 F.R.D. 672, 678 (W.D. Wis. 1996) (similar); see also Allen Calculators,

Inc. v. Nat’l Cash Register Co., 322 U.S. 137, 141-42 (1944) (noting that permitting a “multitude”

of interventions in a case “of large public interest … may result in accumulating proofs and

arguments without assisting the court”). Proposed Intervenors have not identified any defense that

is distinct from those that the government is now making (or is capable of raising) itself. As such,

they have failed to show any “unique legal interests or factual contributions that would aid in the

resolution of this case.” La Union del Pueblo Entero v. Abbott, No. 5:21-cv-00844, 2021 WL

5410516, at *3 (W.D. Tex. Nov. 16, 2021).

       In light of those considerations, J&J respectfully submits that the proper role for any

participation by Proposed Intervenors in this case is as amici curiae, insofar as they satisfy the

criteria for amicus status. Indeed, Proposed Intervenors identify no respect in which amicus status




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would leave them worse off or less capable of protecting their interests. Approving Proposed

Intervenors’ participation in an amicus role would allow for consideration of Proposed

Intervenors’ views and asserted interests, while minimizing any disruption to the agreed briefing

schedule that the Court has entered.

                                         CONCLUSION

       The Court should deny the motion to intervene.

DATED: February 13, 2025


                                             Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I certify that on February 13, 2025, I filed the foregoing with the Clerk of the Court

using the ECF System, which will send notification of such filing to the registered participants

identified on the Notice of Electronic Filing.

                                                 /s/ Jeffrey L. Handwerker
                                                 Jeffrey L. Handwerker




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